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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER RE: PRELIMINARY
                                                                         10   This Order Relates To:                  )   APPROVAL OF CLASS ACTION
                               For the Northern District of California
United States District Court




                                                                                                                      )   SETTLEMENTS WITH THOMSON
                                                                         11                                           )   AND TDA DEFENDANTS
                                                                              ALL DIRECT PURCHASER ACTIONS            )
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                                                                         18        Now before the Court is Direct Purchaser Plaintiffs' ("DPPs")
                                                                         19   motion for preliminary approval of a class action settlement with
                                                                         20   Defendants Thomson SA (now known as Technicolor SA) and Thomson
                                                                         21   Consumer Electronics, Inc. (now known as Technicolor USA, Inc.)
                                                                         22   (collectively, "Thomson").     ECF No. 3562 ("Mot.").       The matter was
                                                                         23   initially set for hearing on March 20, 2015, which the Court
                                                                         24   rescheduled for April 3, 2015.      The parties subsequently filed a
                                                                         25   stipulation seeking to move the rescheduled hearing, ECF No. 3808,
                                                                         26   but because the Court finds no hearing is necessary at this time,
                                                                         27   the hearing is VACATED and the stipulation is DENIED.          See Civ.
                                                                         28   L.R. 7-1(b).   Rather than decide the motion at this time, the Court
                                                                               Case 3:07-cv-05944-JST Document 3810 Filed 03/26/15 Page 2 of 3




                                                                          1   ORDERS the parties to meet and confer and file supplemental
                                                                          2   submissions addressing the Court's concerns.
                                                                          3         The Court has three concerns about the current form of notice
                                                                          4   and notice plan.    First, the Court believes the summary notice
                                                                          5   should be published in more than just the Wall Street Journal.            The
                                                                          6   parties should meet and confer and agree on another national
                                                                          7   newspaper in which to publish notice and submit a revised proposed
                                                                          8   order to that effect.     Second, in light of a previous issue with
                                                                          9   the parties' notice website,
                                                                         10   www.CRTDirectPurchaserAntitrustSettlement.com, the Court requests
                               For the Northern District of California
United States District Court




                                                                         11   an additional submission (in declaration from the claims
                                                                         12   administrator or in some other convenient form) assuring the Court
                                                                         13   that the "Frequently Asked Questions" and "Dates to Remember" pages
                                                                         14   will be updated promptly to reflect the opt-out deadline and other
                                                                         15   important deadlines related to this settlement.         See ECF Nos. 2698;
                                                                         16   2698-1, at ¶ 10 & Ex. 6 (raising questions about whether these
                                                                         17   pages were updated promptly in a previous settlement).             Finally,
                                                                         18   for similar reasons, the Court finds that the first page of the
                                                                         19   notice should be edited to include the objection and opt-out
                                                                         20   deadlines and the date, time, and place of the fairness hearing.
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                                                                          1        The parties shall meet and confer and submit a revised form of
                                                                          2   notice, proposed order, supplemental declaration, and any other
                                                                          3   necessary documents within fourteen (14) days of the signature date
                                                                          4   of this order.
                                                                          5
                                                                          6        IT IS SO ORDERED.
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                                                                          8        Dated: March 26, 2015
                                                                          9                                        UNITED STATES DISTRICT JUDGE

                                                                         10
                               For the Northern District of California
United States District Court




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